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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

SECURITIES AND EXCHANGE                          §
COMMISSION,                                      §
                                                 §
         Plaintiff,                              §
                                                 §
v.                                               §
                                                 §
DAVID RONALD ALLEN, et al.,                      §
                                                         Civil Action No. 3:11-cv-00882-O
                                                 §
         Defendants,                             §
                                                 §
and                                              §
                                                 §
PATRICIA ALLEN, et al.,                          §
                                                 §
         Relief Defendants.                      §

                                             ORDER

         Before the Court is the Receiver’s Unopposed Seventh Application to Allow and Pay

Professionals’ Fees (ECF No. 357), filed August 31, 2018. The Receiver seeks to pay fees and

expenses incurred as follows:

         •      RRR - $16,014.00

         •      SFS - $945.00

         •      FRG - $9,007.50

         •      MKA - $2,225.75

         •      The Receiver - $10,051.60

         No opposition has been filed to this Application. Counsel for the Securities and Exchange

Commission does not oppose the relief sought.
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       Based on a review of the Application and the pleadings on file, the Court finds that good

cause exists for granting the relief requested. Accordingly, the Court GRANTS the Application and

ORDERS that the Receiver is authorized to immediately pay the requested fees and expenses.

       SO ORDERED on this 11th day of September, 2018.



                                            _____________________________________
                                            Reed O’Connor
                                            UNITED STATES DISTRICT JUDGE




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